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     Attorneys for Plaintiffs Parag Agrawal,
9    Ned Segal, Vijaya Gadde, and Sean Edgett

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11                               UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13                                  SAN FRANCISCO DIVISION

14

15   PARAG AGRAWAL, NED SEGAL,                      Case No. 3:24-cv-01304-MMC
     VIJAYA GADDE, and SEAN EDGETT,
16
                                                    Assigned to: Honorable Maxine M. Chesney
17                Plaintiffs,
                                                    STIPULATION AND [PROPOSED]
18         vs.                                      ORDER MODIFYING CASE SCHEDULE
19   ELON MUSK; X CORP., f/k/a TWITTER, INC.;
     TWITTER, INC. CHANGE OF CONTROL
20   AND INVOLUNTARY TERMINATION
     PROTECTION POLICY; TWITTER, INC.
21   CHANGE OF CONTROL SEVERANCE AND
     INVOLUNTARY TERMINATION
22   PROTECTION POLICY; LINDSAY
     CHAPMAN; BRIAN BJELDE; AND
23   DHRUV BATURA,
24                Defendants.
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                    STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
                                   CASE NO. 3:24-CV-01304-MMC
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1              Pursuant to Civil L.R. 6-2 and 7-12, and Standing Order 7 of this Court, Plaintiffs, together

2    with Defendants, by and through their respective counsel, jointly stipulate as follows:

3              WHEREAS, on March 4, 2024, Plaintiffs filed their Complaint against Defendants, asserting

4    six causes of action (Dkt. 1);

5              WHEREAS, the Parties anticipate filing cross-motions for judgment pursuant to Federal Rule

6    of Civil Procedure 52 as to Counts I–IV of the Complaint, Plaintiffs’ claims for benefits under

7    ERISA Section 502(a)(1)(B);

8              WHEREAS, the Parties anticipate filing cross-motions for summary judgment pursuant to

9    Federal Rule of Civil Procedure 56 as to Count V and VI of the Complaint, Plaintiffs’ claim for

10   unlawful discharge to interfere with their right to benefits under ERISA Section 510 and for

11   penalties under ERISA Section 502(c);

12             WHEREAS, on May 20, 2024 Defendants filed a Motion to Dismiss Count V of Plaintiffs’

13   Complaint (Dkt. 46);

14             WHEREAS, on July 2, 2024, the Court entered an Order Setting Briefing Schedule and

15   Hearing on Cross-Motions for Judgment (the “Scheduling Order”) (Dkt. 67);

16             WHEREAS, the Scheduling Order set deadlines for the Parties to file motions as follows:

17   “The deadline for plaintiffs to file their Rule 52 motion for judgment is April 25, 2025. The deadline

18   for defendants to file their opposition/cross-motion is June 6, 2025. The deadline for plaintiffs to file

19   their reply/opposition is July 18, 2025. The deadline for defendants to file their reply is August 8,

20   2025.”;

21             WHEREAS, the Scheduling Order set the hearing date as follows: “The hearing date is

22   September 12, 2025, at 9:00 a.m.”;

23             WHEREAS, the Scheduling Order does not provide a deadline for the Parties to complete

24   fact discovery;

25             WHEREAS, the Scheduling Order does not provide deadlines for the Parties to file cross-

26   motions for summary judgment pursuant to Federal Rule of Civil Procedure 56 relating to Plaintiffs’

27   claims brought pursuant to ERISA Section 510, 29 U.S.C. 1140, and ERISA Section 502(c), 29

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                        STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
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 1   U.S.C. § 1132(c), and it is unclear to the Parties whether the Court contemplated adjudicating

 2   Plaintiffs’ section 502(c) and 510 claims pursuant to Rule 52 or Rule 56;

 3          WHEREAS, on November 1, 2024 the Court denied Defendants’ Motion to Dismiss Count V

 4   of Plaintiffs’ Complaint (Dkt. 73);

 5          WHEREAS, discovery in this matter is ongoing;

 6          WHEREAS, the Parties through their respective counsel, have met and conferred, and agree

 7   that that they cannot complete fact discovery prior to the deadlines for filing cross-motions set in the

 8   Scheduling Order;

 9          WHEREAS, the Parties agree that good cause exists to modify the case schedule to allow the

10   Parties sufficient time to complete discovery in advance of submitting their cross-motions, and to

11   provide deadlines for the Parties to complete fact discovery and to file cross-motions for summary

12   judgment pursuant to Federal Rule of Civil Procedure 56 in connection with Plaintiffs’ claims

13   brought pursuant to ERISA sections 502(c) and 510; and

14          WHEREAS, the Parties have not previously sought a modification of any deadline set in the

15   Scheduling Order.

16          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the

17   Parties, subject to approval by the Court, that:

18          The case schedule shall be modified as follows:

19                    EVENT                                        NEW DEADLINE
20                    Fact Discovery Cutoff                        July 25, 2025
                      Deadline for Plaintiffs to File Rule 52      August 29, 2025
21                    Motion in Connection With Their
                      ERISA § 502(a)(1)(B) Claims for
22                    Benefits and to File Rule 56 Motion in
                      Connection With Their ERISA §§
23                    502(c) and 510 Claims
24                    Deadline for Defendants to File              October 10, 2025
                      Oppositions to Plaintiffs’ Rule 52 and
25                    56 Motions and to File Cross-Motions
                      Pursuant to Rules 52 and 56
26                    Deadline for Plaintiffs to File Replies in   November 21, 2025
                      Support of Their Rule 52 and 56
27
                      Motions and Oppositions to
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                                                 2
                      STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
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 1                 Defendants’ Cross-Motions Pursuant to
                   Rules 52 and 56
 2
                   Deadline for Defendants to File Replies   December 16, 2025
 3                 In Support of Their Rule 52 and 56
                   Motions
 4                 Hearing on Rule 52 and 56 Motions         January 16, 2026

 5
     Dated: February 21, 2025                 SIDLEY AUSTIN LLP
 6

 7                                            By /s/ Sheila A.G. Armbrust
                                                 Sheila A.G. Armbrust
 8
                                                 Attorneys for Plaintiffs Parag Agrawal,
 9                                               Ned Segal, Vijaya Gadde, and Sean Edgett
10
     Dated: February 21, 2025                 MORGAN, LEWIS & BOCKIUS LLP
11

12                                            By /s/ Abbey M. Glenn
                                                 Abbey M. Glenn
13
                                                 Attorneys for Defendants Elon Musk, X Corp.,
14                                               Twitter, Inc. Change of Control and Involuntary
                                                 Termination Protection Policy, Twitter, Inc.
15                                               Change of Control Severance and Involuntary
                                                 Termination Protection Policy, Lindsay
16                                               Chapman, Brian Bjelde, and Dhruv Batura
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                   STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
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 1                                         [PROPOSED] ORDER

 2          Upon consideration of the Parties’ Stipulation Modifying Case Schedule, the declaration

 3   submitted in support thereof, and finding good cause exists for the Request, it is hereby ORDERED

 4   that the case schedule is modified as follows:

 5
                     EVENT                                        NEW DEADLINE
 6
                     Fact Discovery Cutoff                        July 25, 2025
 7                   Deadline for Plaintiffs to File Rule 52      August 29, 2025
                     Motion in Connection With Their
 8                   ERISA § 502(a)(1)(B) Claims for
                     Benefits and to File Rule 56 Motion in
 9                   Connection With Their ERISA §§
                     502(c) and 510 Claims
10
                     Deadline for Defendants to File              October 10, 2025
11                   Oppositions to Plaintiffs’ Rule 52 and
                     56 Motions and to File and Cross-
12                   Motions Pursuant to Rules 52 and 56
                     Deadline for Plaintiffs to File Replies in   November 21, 2025
13                   Support of Their Rule 52 and 56
14                   Motions and Oppositions to
                     Defendants’ Cross-Motions Pursuant to
15                   Rules 52 and 56
                     Deadline for Defendants to File Replies      December 16, 2025
16                   In Support of Their Rules 52 and 56
                     Motions
17
                     Hearing on Rule 52 and Rule 56               January 16, 2026
18                   Motions

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20   IT IS SO ORDERED.

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22    Dated: __________________
                                              Hon. Maxine M. Chesney
23                                            Senior United States District Judge

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                                                 4
                      STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
                                     CASE NO. 3:24-CV-01304-MMC
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 1                                 CIVIL L.R. 5-1(h)(3) ATTESTATION

 2                  I, Sheila A.G. Armbrust, am the ECF user whose ID and password are being used to

 3   file this STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE . In

 4   compliance with Civil Local Rule 5-1(h)(3), I hereby attest that counsel for all parties have

 5   concurred in this filing.

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 7   Dated: February 21, 2025                             By: /s/ Sheila A.G. Armbrust
                                                             Sheila A.G. Armbrust
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                       STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE
                                      CASE NO. 3:24-CV-01304-MMC
